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GAS 187(Rev. 07/08) Exhibit and Witness List

United States District Court
Southern District of Georgia

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA
Vv. EXHIBIT AND WITNESS LIST
DONALD ADAMS
CASE NUMBER: 218-CR-47
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
Benjamin W. Cheesbro Jennifer Kirkland Alan Tucker
TRIAL DATE(S) COURT REPORTER COURTROOM DEPUTY
3-7-2019 FTR-BWK-CR3 Kim Mixon
NO eee | opeteep — [MARKED |ADMITTED DESCRIPTION OF EXHIBITS, AND WITNESSES
1 3/7/19 x CD of police interview with Donald Adams
2 3/7/2019 xX Miranda Warning Rights and Waiver Form
3 3/7/2019 Xx Xx Transcript from Bond Hearing for Defendant Donald Adams

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

include a notation as to the location of any exhibit not held with the case file or not available because of size.

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